 

Case 1:19-cv-06314-ALC-KNF Document 30 Filed 01/29/20 Page 1 of1

 

 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

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CHEMOIL CORP., :

Plaintiff,

ORDER
-against-
19-CV-6314 (ALC) (KNF)

UNITED STATES OF AMERICA,

Defendants. :
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KEVIN NATHANIEL FOX

UNITED STATES MAGISTRATE JUDGE
IT IS HEREBY ORDERED that a telephone conference shall be held in the above

captioned action on February 11, 2020, at 4:45 p.m. All counsel are directed to call (888) 557-

8511 and, thereafter, enter access code 4862532.

 

Dated: New York, New York SO ORDERED:
January 29, 2020 . .
[ LerR— GartRanel Pr
KEVIN NATHANIEL FOX

UNITED STATES MAGISTRATE JUDGE

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